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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA

Vv.

THOMAS CALDWELL,
(Counts 1, 2, 3, 4, 5)

DONOVAN CROWL,
(Counts 1, 2, 3, 4)

JESSICA WATKINS,
(Counts 1, 2, 3, 4)

SANDRA PARKER,
(Counts 1, 2, 3, 4)

BENNIE PARKER,
(Counts 1, 2, 3, 4)

GRAYDON YOUNG,
(Counts 1, 2, 3, 4, 6)

LAURA STEELE,
(Counts 1, 2, 3, 4)

KELLY MEGGS,
(Counts 1, 2, 3, 4)

CONNIE MEGGS, and
(Counts 1, 2, 3, 4)

KENNETH HARRELSON,
(Counts 1, 2, 3, 4)

Defendants.

CRIMINAL NO. 21-cr-28-APM
MAGISTRATE NO. 21-mj-283

VIOLATIONS:
18 U.S.C. § 371 (Conspiracy)

18 U.S.C. §§ 1512(c)(2), 2
(Obstruction of an Official Proceeding and
Aiding and Abetting)

18 U.S.C. §§ 1361, 2
(Destruction of Government Property and
Aiding and Abetting)

18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1512(c)(1)
(Tampering with Documents or
Proceedings)
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SECOND SUPERSEDING INDICTMENT

The Grand Jury charges that, at all times material to this Indictment, on or about the dates
stated below:

Introduction

The 2020 United States Presidential Election and the Official Proceeding on January 6, 2021

is The 2020 United States Presidential Election occurred on November 3, 2020.

2. The United States Electoral College (“Electoral College”) is a group required by
the Constitution to form every four years for the sole purpose of electing the president and vice
president, with each state appointing its own electors in a number equal to the size of that state’s
Congressional delegation.

B. On December 14, 2020, the presidential electors of the Electoral College met in the
state capital of each state and in the District of Columbia and formalized the result of the 2020
U.S. Presidential Election: Joseph R. Biden Jr. and Kamala D. Harris were declared to have won
sufficient votes to be elected the next president and vice president of the United States.

4. On January 6, 2021, a Joint Session of the United States House of Representatives
and the United States Senate (“the Joint Session”) convened in the United States Capitol (“the
Capitol”) building to certify the vote of the Electoral College of the 2020 U.S. Presidential Election
(“the Electoral College vote”).

The Attack at the U.S. Capitol on January 6, 2021

SF The Capitol is secured 24 hours a day by United States Capitol Police (“Capitol
Police”), The Capitol Police maintain permanent and temporary barriers to restrict access to the
Capitol exterior, and only authorized individuals with appropriate identification are allowed inside

the Capitol building.
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6. On January 6, 2021, at approximately 1:00 p.m., the Joint Session convened in the
Capitol building to certify the Electoral College vote. Vice President Michael R. Pence, in his
constitutional duty as President of the Senate, presided over the Joint Session.

i A large crowd began to gather outside the Capitol perimeter as the Joint Session
got underway. Crowd members eventually forced their way through, up, and over Capitol Police
barricades and advanced to the building’s exterior facade. Capitol Police officers attempted to
maintain order and stop the crowd from entering the Capitol building, to which the doors and
windows were locked or otherwise secured. Nonetheless, shortly after 2:00 p.m., crowd members
forced entry into the Capitol building by breaking windows, ramming open doors, and assaulting
Capitol Police officers. Other crowd members encouraged and otherwise assisted the forced entry.
The crowd was not lawfully authorized to enter or remain inside the Capitol, and no crowd member
submitted to security screenings or weapons checks by Capitol Police or other security officials.

8. Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate
(including Vice President Pence)—who had withdrawn to separate chambers to resolve an
objection—were evacuated from their respective chambers. The Joint Session was halted while
Capitol Police and other law-enforcement officers worked to restore order and clear the Capitol of
the unlawful occupants.

a Later that night, law enforcement regained control of the Capitol. At approximately
8:00 p.m., the Joint Session reconvened, presided over by Vice President Pence, who had remained
hidden within the Capitol building throughout these events.

10. In the course of these events, approximately 81 members of the Capitol Police and
58 members of the Metropolitan Police Department were assaulted. The Capitol suffered millions

of dollars in damage—including broken windows and doors, graffiti, and residue from pepper
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spray, tear gas, and fire extinguishers deployed both by crowd members who stormed the Capitol
and by Capitol Police officers trying to restore order. Additionally, many media members were
assaulted and had cameras and other news-gathering equipment destroyed...

The Oath Keepers Militia

11. | Law enforcement and news-media organizations observed that members of an
organization known as the Oath Keepers were among the individuals and groups who forcibly
entered the Capitol on January 6, 2021. The Oath Keepers are a large but loosely organized
collection of individuals, some of whom are associated with militias. Some members of the Oath
Keepers believe that the federal government has been coopted by a cabal of elites actively trying
to strip American citizens of their rights. Though the Oath Keepers will accept anyone as
members, they explicitly focus on recruiting current and former military, law enforcement, and
first-responder personnel. The organization’s name alludes to the oath sworn by members of the
military and police to defend the Constitution “from all enemies, foreign and domestic.” The Oath
Keepers are led by PERSON ONE.

12. On January 4, 2021, PERSON ONE posted an article to the Oath Keepers website
encouraging Oath Keeper members and affiliates to go to Washington, D.C., for the events of
January 5-6, 2021, stating: “It is CRITICAL that all patriots who can be in DC get to DC to stand
tall in support of President Trump’s fight to defeat the enemies foreign and domestic who are
attempting a coup, through the massive vote fraud and related attacks on our Republic. We Oath
Keepers are both honor-bound and eager to be there in strength to do our part.”

Conspirators
13. THOMAS CALDWELL is a 65-year-old resident of Clarke County, Virginia.

14. DONOVAN CROWL is a 50-year-old resident of Champaign County, Ohio.
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15. JESSICA WATKINS is a 38-year-old resident of Champaign County, Ohio.

16. SANDRA PARKER is a 60-year-old resident of Warren County, Ohio, and the
wife of BENNIE PARKER.

17. | BENNIE PARKER is a 70-year-old resident of Warren County, Ohio, and the
husband of SANDRA PARKER.

18. GRAYDON YOUNG is a 54-year-old resident of Englewood, Florida, and the
brother of LAURA STEELE.

19. LAURA STEELE is a 52-year-old resident of Thomasville, North Carolina, and the
sister of GRAYDON YOUNG.

20. | KELLY MEGGS is a 52-year-old resident of Dunnellon, Florida, and the husband
of CONNIE MEGGS.

21, CONNIE MEGGS is a 59-year-old resident of Dunnellon, Florida, and the wife of
KELLY MEGGS.

22. KENNETH HARRELSON is a 40-year-old resident of Titusville, Florida.

23. As described more fully herein, CALDWELL, CROWL, WATKINS, SANDRA
PARKER, BENNIE PARKER, YOUNG, STEELE, KELLY MEGGS, CONNIE MEGGS, and
HARRELSON planned with each other, and with others known and unknown, to forcibly enter
the Capitol on January 6, 2021, and to stop, delay, and hinder the Congressional proceeding

occurring that day.

COUNT ONE
(Conspiracy—18 U.S.C. § 371)

24, — The introductory allegations set forth in paragraphs 1 through 23 are re-alleged and
incorporated by reference as though set forth herein.

The Conspiracy
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25, From at least as early as November 3, 2020, through January 6, 2021, in the District
of Columbia and elsewhere, the defendants,
THOMAS CALDWELL,
DONOVAN CROWL,
JESSICA WATKINS,
SANDRA PARKER,
BENNIE PARKER,
GRAYDON YOUNG,
LAURA STEELE,
KELLY MEGGS,
CONNIE MEGGS, and
KENNETH HARRELSON
did knowingly combine, conspire, confederate, and agree with each other and others known and
unknown, to commit an offense against the United States, namely, to corruptly obstruct, influence,
and impede an official proceeding, that is, Congress’s certification of the Electoral College vote,
and to attempt to do so, in violation of Title 18, United States Code, Section 1512(c)(2).
Purpose of the Conspiracy
26. The purpose of the conspiracy was to stop, delay, and hinder Congress’s
certification of the Electoral College vote.
Manner and Means
27. CALDWELL, CROWL, WATKINS, SANDRA PARKER, BENNIE PARKER,
YOUNG, STEELE, KELLY MEGGS, CONNIE MEGGS, and HARRELSON, with others known
and unknown, carried out the conspiracy through the following manner and means, among others,
by:
a. Agreeing to participate in and taking steps to plan an operation to interfere with the

official Congressional proceeding to certify the vote of the Electoral College of the

2020 U.S. Presidential Election on January 6, 2021 (the “January 6 operation’’);
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b. Attending or scheduling trainings to teach and learn paramilitary combat tactics in
advance of the January 6 operation;

c. Using websites, social media, text messaging, and messaging applications to recruit
other individuals to travel to Washington, D.C., to support the January 6 operation;

d. Coordinating in advance with others, including members of the Oath Keepers from
other regions, and joining forces with these individuals and groups to further the
January 6 operation;

e. Traveling to Washington, D.C., for the January 6 operation;

f. Bringing and contributing paramilitary gear and supplies—including camouflaged
combat uniforms, tactical vests with plates, helmets, eye protection, and radio
equipment—for the January 6 operation;

g. Traveling into Washington, D.C., on January 6, 2021, while wearing clothes with
the Oath Keepers insignia;

h. Changing into paramilitary gear—including helmets—before participating in the
January 6 operation;

i. Moving together in a military “stack” formation while utilizing hand signals to
maintain communication and coordination while advancing toward the Capitol as
part of the January 6 operation;

j. Forcibly storming past exterior barricades, Capitol Police, and other law
enforcement officers, and entering the Capitol complex in executing the January 6
operation; and

k. Using a walkie-talkie-like application, and creating a channel on it named “Stop the

Steal J6,” to develop plans and later communicate during the January 6 operation.
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Overt Acts

Planning for January 6, 2021

28, On November 9, 2020, WATKINS, the self-described “C.O. [Commanding
Officer] of the Ohio State Regular Militia,” sent text messages to a number of individuals who had
expressed interest in joining the Ohio State Regular Militia. In these messages, WATKINS
mentioned, among other things, that the militia had a week-long “Basic Training class coming up
in the beginning of January,” and WATKINS told one recruit, “I need you fighting fit by
innaugeration.” WATKINS told another individual, “It’s a military style basic, here in Ohio, with
a Marine Drill Sergeant running it. An hour north of Columbus Ohio[.]”

29. On November 9, 2020, WATKINS asked a recruit if he could “download an App
called Zello”! and stated, “We all use Zello though for operations.”

30. On November 17, 2020, when a recruit asked WATKINS for her predictions for
2021, WATKINS replied, among other statements:

I can’t predict. I don’t underestimate the resolve of the Deep State. Biden may still

yet be our President. If he is, our way of life as we know it is over. Our Republic

would be over. Then it is our duty as Americans to fight, kill and die for our rights.

and:

[I|f Biden get the steal, none of us have a chance in my mind. We already have our
neck in the noose. They just haven’t kicked the chair yet.

31. On November 23, 2020, CALDWELL sent a text message to WATKINS stating:

Hi, CAP! Wanted to tell you it was great to have you here in Virginia. Don’t know
what [PERSON ONE] is cooking up but I am hearing rumblings of another Maga
March 12 December.” I don’t know what will happen but like you I am very

 

! Zello is an application that emulates push-to-talk walkie-talkies over cellular telephone networks. Zello
can be used on electronic communication devices, like cellular telephones and two-way radios.

2 An event colloquially referred to as the “Million MAGA March” occurred in Washington, D.C., on
November 14, 2020. A similar event occurred in Washington, D.C., on December 12, 2020.
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worried about the future of our country. Once lawyers get involved all of us normal
people get screwed. I believe we will have to get violent to stop this, especially the
antifa maggots who are sure to come out en masse even if we get the Prez for 4
more years. Stay sharp and we will meet again. You are my kinda person and we
may have to fight next time. I have my own gear, | like to be ON TIME and go
where the enemy is, especially after dark. Keep the faith! Spy.

32. On December 3, 2020, YOUNG emailed the Florida chapter of the Oath Keepers
with a membership application and wrote, “looking to get involved in helping....”

33. On December 12-13, 2020, CROWL attended a training camp in North Carolina.

34. On December 19, 2020, YOUNG wrote to a Facebook group: “Please check out
Oath Keepers as a means to get more involved. Recruiting is under way. DM me if you want
more info.”

35. | On December 22, 2020, YOUNG made plans to fly from Florida to North Carolina
on January 4, 2021, with a return trip on January 8, 2021.

36. On December 22, 2020, KELLY MEGGS wrote a series of messages on Facebook
to another individual that read in part:

a. “Trump said It’s gonna be wild!!!!!!! It’s gonna be wild!!!!!!! He wants us to
make it WILD that’s what he’s saying. He called us all to the Capitol and wants us
to make it wild!!! Sir Yes Sir!!! Gentlemen we are heading to DC pack your shit!!”

b. “Nice, we will have at least 50-100 OK? there.”

37. On December 25, 2020, KELLY MEGGS wrote a message on Facebook that said
in relevant part: “I was named State lead of Florida today.”

38. On December 25, 2020, KELLY MEGGS wrote a message on Facebook that said

in relevant part: “We are all staying in DC near the Capitol we are at the Hilton garden inn but I

 

3 Based on the investigation, OK appears to refer to “Oath Keepers.”
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think it’s full. De is no guns. So mace and gas masks, some batons. If you have armor that’s
good.”

39. On December 26, 2020, YOUNG wrote an email to a Florida company that
conducts training on firearms and combat. YOUNG wrote, in part, “I trained with you not long
ago. Since then I have joined Oath Keepers. I recommended your training to the team. To that
effect, four of us would like to train with you, specifically in your UTM‘ rifle class.”

40. | On December 26 and 27, 2020, WATKINS and BENNIE PARKER exchanged text
messages relating to preparations for the trip to Washington, D.C., on January 6, 2021. BENNIE
PARKER also texted WATKINS, “I may have to see what it takes to join your militia, ours is
about gone.”

41, On December 29, 2020, WATKINS sent text messages to CROWL sharing her
plans to go to Washington, D.C., for the events of January 6, 2021.

42. On December 29 and 30, 2020, WATKINS and BENNIE PARKER exchanged text
messages in which they discussed Oath Keeper membership and meeting in advance to prepare for
the trip to Washington, D.C., on January 6, 2021.

43. On December 30, 2020, CALDWELL wrote in a Facebook post: “THIS IS OUR
CALL TO ACTION, FREINDS! SEE YOU ON THE 6TH IN WASHINGTON, D.C. ALONG
WITH 2 MILLION OTHER LIKE-MINDED PATRIOTS.”

44, On December 30, 2020, WATKINS and CALDWELL exchanged the following
text messages:

WATKINS: Looks like we are greenlight to come to DC on the 6th. The Rally
Point still at your place?

CALDWELL: Not that I am aware. Have been contacted by NO ONE. Typical

 

Based on the investigation, UTM appears to refer to “Ultimate Training Munitions.”

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[PERSON ONE]. Here’s the rub: [PERSON TWO] and I will be in
a hotel within striking distance of the city starting on the 4th so we
won’t even BE here. There will be some stuff going on during the
5th and we want to be a part of that whenever it shakes out. Also
we want to be in D.C. very early on the 6th, hence closer/virtually
no commute time.

WATKINS: We planned on arriving on the 5th. We want to be in DC by 9am on
the 6th. I will reach out to [PERSON THREE], and see if NC boys
are coming. If [PERSON ONE] isn’t making plans, I'll take charge
myself, and get the ball rolling. I think the Metro is smarter than
convoy/parking issues. Do you want us to stage ourselves vehicles
elsewhere, seeing how you’re going to be gone? We can go to a
KOA Campground or something...

CALDWELL (about two hours later):

Talked to [PERSON THREE]. At least one full bus 40+ people
coming from N.C. Another group (unclear if Mississippi guys) also
a bus. Busses have their own lane on the 14th street bridge so they
will be able to get in and out. [PERSON THREE] is driving plus 1
and arriving nite before. As we speak he is trying to book a room at
Comfort Inn Ballston/Arlington because of its close-in location and
easy access to downtown because he feels 1) he’s too broken down
to be on the ground all day and 2) he is committed to being the quick
reaction force anf bringing the tools if something goes to hell. That
way the boys don’t have to try to schlep weps on the bus. He'll
bring them in his truck day before. Just got a text from him he WAS
able to book a room in that hotel I recommended which is on Glebe
Road in Arlington. However it goes it will be great to see you again!
I sure hope your arm is getting better!

45. On December 31, 2020, CALDWELL replied to a Facebook comment, writing, “It
begins for real Jan 5 and 6 on Washington D.C. when we mobilize in the streets. Let them try to
certify some crud on capitol hill with a million or more patriots in the streets. This kettle is set to

boil...”

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46. On December 31, 2020, when invited to a “leadership only” conference call on an
encrypted messaging service called Signal for the “DC op,” WATKINS said she would try to make
it if her work obligations permitted.

47. On December 31, 2020, KELLY MEGGS wrote a series of messages to another
person on Facebook that said, “You guys Gonna carry?” and “Ok we aren’t either, we have a heavy
QRF? 10 Min out though.”

48. On January 1, 2021, CALDWELL replied to a Facebook comment, writing, “I
accept that assignment! I swore to support and defend the Constitution of the United States against
all enemies foreign and domestic. I did the former, I have done the latter peacefully but they have
morphed into pure evil even blatantly rigging an election and paying off the political caste. We
must smite them now and drive them down.”

49, On January 1, 2021, CROWL sent CALDWELL a Facebook message stating,
“Happy New year, to you Sir!! Guess I’ll be seeing you soon. Will probably call you
tomorrow...mainly because...I like to know wtf plan is. You are the man Commander.”

50. On January 1, 2021, CALDWELL wrote to CROWL, “Check with Cap. I
recommended the following hotel to her which STILL has rooms (unbelieveble).”, CALDWELL
then sent a link to the Comfort Inn Ballston, the same hotel that he recommended to others on
January 1. CALDWELL continued, “[PERSON TWO] and J are setting up shop there. [PERSON
THREE] has a room and is bringing someone. He will be the quick reaction force. Its going to be
cold. We need a place to spend the night before minimum. [PERSON ONE] never contacted me
so [PERSON TWO] and J are going our way. I will probably do pre-strike on the 5th though there

are things going on that day. Maybe can do some night hunting. Oathkeeper friends from North

 

> Based on the investigation, QRF appears to refer to a “quick reaction force,” as used in paragraph 43.

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Carolina are taking commercial buses up early in the morning on the 6th and back same night.
[PERSON THREE] will have the goodies in case things go bad and we need to get heavy.”

51. On January 1, 2021, CROWL and WATKINS made plans to travel by car to
Washington, D.C., to attend the events of January 5-6, 2021.

52. Beginning on January 1, and continuing into January 2, 2021, CALDWELL and
CROWL exchanged messages about the hotel where they planned to stay in Arlington, Virginia,
and CALDWELL told CROWL: “This is a good location and would allow us to hunt at night if
we wanted to. I don’t know if [PERSON ONE] has even gotten out his call to arms but its a little
friggin late. This is one we are doing on our own. We will link up with the north carolina crew.”

53. OnJanuary 3, 2021, STEELE emailed the Florida chapter of the Oath Keepers with
a membership application and wrote, “My brother, Graydon Young told me to submit my
application this route to expedite the process.” Later in the day, STEELE emailed KELLY
MEGGS and wrote, “My brother, Graydon Young told me to send the application to you so I can
be verified for the Events this coming Tuesday and Wednesday.” The following day, STEELE
sent an email to an Oath Keepers address, copying both YOUNG and KELLY MEGGS, attaching
her Florida Oath Keepers membership application and vetting form, and writing, “I was just
requested to send my documents to this email.”

54. On January 3, 2021, WATKINS sent CROWL a Facebook message stating,
“Running a bit behind. I’ll txt when I’m back at the bar. Getting supplies for DC.”

55, On January 3, 2021, WATKINS and BENNIE PARKER discussed the uniforms,
gear, and weapons they would wear and bring on January 6, 2021:

WATKINS to BENNIE PARKER: We are not bringing firearms. QRF
will be our Law Enforcement
members of Oathkeepers.

BENNIE PARKER to WATKINS: Good to know.

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WATKINS to BENNIE PARKER: Pack Khaki/Tan pants. Weapons are
ok now as well. Sorry for the
confusion. We are packing the car
and heading your way shortly

BENNIE PARKER to WATKINS: We don’t have any khakis We have
jeans and our b d u’s” So I can bring
my gun?

56. On January 3, 2021, KELLY MEGGS (under the name “gator 1”) and
HARRELSON (under the name “gator 6”) served as two of the three “organizers” of an 18-
participant online meeting called “dc planning call.”

57. On January 4, 2021, YOUNG took a flight from Sarasota, Florida, to Greensboro,
North Carolina.

58. On January 4, 2021, CROWL, WATKINS, SANDRA PARKER, and BENNIE
PARKER departed Ohio together and traveled to the Washington, D.C. metropolitan area.

59. On January 5, 2021, YOUNG and STEELE departed North Carolina with others
known and unknown and traveled to the Washington, D.C., metropolitan area.

60. CALDWELL paid for a room for two people at the Comfort Inn Ballston from
January 5-7, 2021.

61. | WATKINS paid for a room for two people at the Comfort Inn Ballston—the hotel
recommended by CALDWELL—from January 5-7, 2021, and reserved under the name “Jessica
Wagkins.”

62. SANDRA PARKER paid for a room for two people at the Comfort Inn Ballston

from January 5-7, 2021.

 

6 Based on the investigation, “B.D.U.” appears to be a military reference to the Battle Dress Uniform, which
is a camouflaged combat uniform.

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63. | KELLY MEGGS paid for two rooms, each for two people, at the Comfort Inn
Ballston from January 5-6, 2021. The rooms were reserved under the name of PERSON THREE.

64. | KELLY MEGGS also booked two rooms at the Hilton Garden Inn in Washington,
D.C., from January 5-7, 2021. KELLY MEGGS paid for both of the rooms, using two different
credit cards.

65. | YOUNG paid for a room for two people at the Holiday Inn in Springfield, Virginia,
from January 5-6, 2021.

Coordination and Participation in the January 6 Operation

66. On the morning of January 6, 2021, YOUNG and STEELE traveled together from
Springfield, Virginia, to Washington, D.C.

67. On the morning of January 6, 2021, CROWL, WATKINS, CALDWELL,
SANDRA PARKER, and BENNIE PARKER, traveled from Arlington, Virginia, to Washington,
D.C.

68. On January 6, 2021, CROWL, WATKINS, SANDRA PARKER, BENNIE
PARKER, YOUNG, STEELE, KELLLY MEGGS, and CONNIE MEGGS prepared themselves
for battle before heading to the Capitol by equipping themselves with communication devices and
donning reinforced vests, helmets, and goggles.

69. On January 6, 2021, at approximately 2:06 p.m., CALDWELL sent WATKINS a
text message stating: “Where are you? Pence has punked out. We are screwed. Teargassing
peaceful protesters at capital steps. Getting rowdy here... I am here at the dry fountain to the left
of the Capitol|[.]”

70. At the Capitol, CROWL, WATKINS, SANDRA PARKER, YOUNG, STEELE,

KELLY MEGGS, CONNIE MEGGS joined together with others known and unknown to form a

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stack of individuals wearing Oath Keepers clothing, patches, insignia, and battle gear. Together,
the stack maneuvered in an organized and practiced fashion up the steps on the east side of the
Capitol—each individual keeping at least one hand on the shoulder of the other in front of them.

71. At approximately 2:40 p.m., CROWL, WATKINS, SANDRA PARKER, YOUNG,
STEELE, KELLY MEGGS, CONNIE MEGGS, HARRELSON, and the others in their group
forcibly entered the Capitol building.

72, As they entered the Capitol, CROWL, WATKINS, SANDRA PARKER, YOUNG,
STEELE, KELLY MEGGS, CONNIE MEGGS, HARRELSON, and the others in their group
joined the larger crowd in pushing past at least one law enforcement officer who appeared to be
trying to stop the crowd from breaching the Capitol building.

73. The Capitol building doors through which CROWL, WATKINS, SANDRA
PARKER, YOUNG, STEELE, KELLY MEGGS, CONNIE MEGGS, HARRELSON, and the
others in their group breached suffered significant damage.

74. After they penetrated the Capitol building, CROWL, WATKINS, SANDRA
PARKER, YOUNG, STEELE, KELLY MEGGS, CONNIE MEGGS, HARRELSON, and the
others in their group then collectively moved into an area inside the building known as the Capitol
Rotunda.

75. As they navigated through the Capitol building, CROWL, WATKINS, SANDRA
PARKER, YOUNG, STEELE, KELLY MEGGS, CONNIE MEGGS, HARRELSON, and the
others in their group continued to communicate with one another by keeping their hands on each

other’s backs.

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76. While at the Capitol building on January 6, 2021, WATKINS and others known
and unknown communicated and coordinated their actions on Zello, using a Zello channel named
“Stop the Steal J6.” WATKINS participated in the following exchanges, among others:

a. WATKINS stated, “We have a good group. We have about 30-40 of us. We are
sticking together and sticking to the plan.” An individual responded, “We’ll see
you soon, Jess. Airborne.”

b. An individual directed, “You are executing citizen’s arrest. Arrest this assembly,
we have probable cause for acts of treason, election fraud.” WATKINS responded,
“We are in the mezzanine. We are in the main dome right now. We are rocking it.
They are throwing grenades, they are fricking shooting people with paint balls. But
we are in here.” An individual responded to WATKINS, telling her to be safe, and
stated, “Get it, Jess. Do your fucking thing. This is what we fucking [unintelligible]
up for. Everything we fucking trained for.”

77. Meanwhile, CALDWELL, who was positioned on the west side of the Capitol,
joined with PERSON TWO and others known and unknown in storming past barricades and
climbing stairs up to a balcony on the west side of the Capitol building.

78. At 2:48 p.m., CALDWELL sent a message on Facebook, writing, “We are surging
forward. Doors breached|[.]”

79. At 3:05 p.m., CALDWELL wrote in a Facebook message, “Inside.”

(In violation of Title 18, United States Code, Section 371)

COUNT TWO
(18 U.S.C. §§ 1512(c)(2), 2—Obstruction of an Official Proceeding and
Aiding and Abetting)

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80. Paragraphs 1 through 23 and paragraphs 28 through 80 of this Indictment are re-
alleged and incorporated as though set forth herein. On or about January 6, 2021, in the District
of Columbia and elsewhere, the defendants,

THOMAS CALDWELL,
DONOVAN CROWL,
JESSICA WATKINS,

SANDRA PARKER,
BENNIE PARKER,
GRAYDON YOUNG,
LAURA STEELE,
KELLY MEGGS,
CONNIE MEGGS, and
KENNETH HARRELSON

attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, and did aid
and abet others known and unknown to do the same; that is, CALDWELL, CROWL, WATKINS,
SANDRA PARKER, BENNIE PARKER, YOUNG, STEELE, KELLY MEGGS, CONNIE
MEGGS, and HARRELSON, forcibly entered the Capitol to, and did, stop, delay, and hinder
Congress’s certification of the Electoral College vote.

(in violation of Title 18, United States Code, Sections 1512(c)(2), 2)

COUNT THREE
(18 U.S.C. §§ 1361, 2—Destruction of Government Property and Aiding and Abetting)

81. _ Paragraphs 1 through 23 and paragraphs 28 through 80 of this Indictment are re-
alleged and incorporated as though set forth herein.
82. On January 6, 2021, in the District of Columbia and elsewhere, the defendants,

THOMAS CALDWELL,
DONOVAN CROWL,
JESSICA WATKINS,

SANDRA PARKER,
BENNIE PARKER,
GRAYDON YOUNG,
LAURA STEELE,
KELLY MEGGS,

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CONNIE MEGGS, and
KENNETH HARRELSON

attempted to, and did, willfully injure and commit depredation against property of the United
States, and did aid and abet others known and unknown to do so; that is, CALDWELL, CROWL,
WATKINS, SANDRA PARKER, BENNIE PARKER, YOUNG, STEELE, KELLY MEGGS,
CONNIE MEGGS, and HARRELSON, together and with others known and unknown, forcibly
entered the Capitol and thereby caused damage to the building in an amount more than $1,000.

(In violation of Title 18, United States Code, Sections 1361, 2)

COUNT FOUR
(18 U.S.C. § 1752(a)(1)—Restricted Building or Grounds)

83. Paragraphs 1 through 23 and paragraphs 28 through 80 of this Indictment are re-
alleged and incorporated as though set forth herein.
84. On or about January 6, 2021, in the District of Columbia and elsewhere, the

defendants,

THOMAS CALDWELL,
DONOVAN CROWL,
JESSICA WATKINS,

SANDRA PARKER,
BENNIE PARKER,
GRAYDON YOUNG,
LAURA STEELE,
KELLY MEGGS,
CONNIE MEGGS, and
KENNETH HARRELSON,

did unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, or otherwise restricted area within the United States Capitol and its grounds,
where the Vice President and Vice President-elect were temporarily visiting, without lawful

authority to do so.

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(In violation of Title 18, United States Code, Section 1752(a)(1))

COUNT FIVE
(18 U.S.C. § 1512(c)(1)—Tampering with Documents or Proceedings)

85. Paragraphs 1 through 23 and paragraphs 28 through 80 of this Indictment are re-
alleged and incorporated as though set forth herein.

86. On January 6, 2021, the Federal Bureau of Investigation (“FBI”) opened an
investigation into the attack on the Capitol, and a grand jury of the United States District Court for
the District of Columbia subsequently opened an investigation.

87. On January 8, 2021, in response to a request from CROWL for a video,
CALDWELL sent the video, and subsequently unsent the message containing the video.

88. Between January 6, 2021, and January 19, 2021, CALDWELL deleted photographs
from his Facebook account that documented his participation in the attack on the Capitol on
January 6, 2021.

89. Between January 6, 2021, and January 19, 2021, in the District of Columbia and
elsewhere, the defendant, THOMAS CALDWELL, did corruptly alter, destroy, mutilate, and
conceal a record, document, and other object, and attempted to do so, with the intent to impair its
integrity and availability for use in an official proceeding, that is, the FBI investigation and the
grand jury investigation into the attack on the Capitol on January 6, 2021.

(In violation of Title 18, United States Code, Section 1512(c)(1))

COUNT SIX
(18 U.S.C. § 1512(c)(1)—Tampering with Documents or Proceedings)

90. Paragraphs 1 through 23 and paragraphs 28 through 80, and paragraph 87 of this

Indictment are re-alleged and incorporated as though set forth herein.

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91. On January 8, 2021, YOUNG deleted YOUNG’s Facebook account.

92. On January 8, 2021, in the District of Columbia and elsewhere, the defendant,
GRAYDON YOUNG, did corruptly alter, destroy, mutilate, and conceal a record, document, and
other object, and attempted to do so, with the intent to impair its integrity and availability for use
in an official proceeding, that is, the FBI investigation and the grand jury investigation into the
attack on the Capitol on January 6, 2021.

(In violation of Title 18, United States Code, Section 1512(c)(1))

A TRUE BILL

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CHANNING D. PHILLIPS
ACTING ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA

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